                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION

                                  DOCKET NO.: 5:14cr72-RLV


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )                  ORDER
                                                     )       APPROVING SETTLEMENT AND
(13) JAMES DAVIS                                     )       DISMISSING THE FORFEITURE
                                                     )            (BY CONSENT)
PETITION OF:                                         )
MUSTANG EQUPIMENT, INC.                              )


       THIS MATTER is before the Court on the Government’s Motion for an order approving a

settlement in an ancillary forfeiture proceeding regarding a 2012 Ford F-350 truck. The truck was

listed in the Consent Order and Judgment of Forfeiture filed on July 23, 2015 (Doc. 202) (the

“preliminary order”).    The government has stated that this truck is registered to Mustang

Equipment, Inc., who is unrepresented herein but has an attorney and may be deemed to have

standing as a third-party petitioner under 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(c) by virtue

of consent to this settlement. A Stipulation and Consent to Settlement Order has been signed by

Johnny Sue Dellinger, president of Mustang Equipment, Inc., and by his attorney, and has been

submitted with the government’s motion.

       Based on the record in this case and the stipulations of the parties, the Court finds as

follows:

       1.      Petitioner is deemed to have filed a timely petition in response to the preliminary

order and to have standing herein.

       2.      The Court has jurisdiction over the subject property.




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       3.      Petitioner has a legal ownership interest in the property, which is subject to

forfeiture under applicable statutes.

       4.      The United States and Petitioner have agreed to a settlement regarding forfeiture

and the interests asserted by Petitioner, in pertinent part as follows:

               a.      The United States will file a motion to dismiss the forfeiture with prejudice,
                       upon compliance with the following terms and conditions and as ordered by
                       the Court.

               b.      The Court’s order will provide that forfeiture will be dismissed with
                       prejudice as to the subject property.

               c.      After filing of notice or entry of the Court’s order, the United States will
                       release the truck to Petitioner.

               d.      Petitioner hereby releases and forever discharges the United States, its
                       agents, servants and employees, its successors or assigns, and all state or
                       local governmental entities or law enforcement agencies in North Carolina
                       and their agents, servants and employees, their heirs, successors, or assigns,
                       from any and all actions, causes of action, suits, proceedings, debts, dues,
                       contracts, judgments, damages, claims, and/or demands whatsoever in law
                       or equity which petitioner or her heirs, successors, or assigns ever had, now
                       have, or may have in the future in connection with this investigation,
                       prosecution, and forfeiture.

       5.      Each party shall bear its own costs, including attorney fees.

IT IS THEREFORE ORDERED:

       1.      The Court adopts the foregoing stipulations of the parties and approves this

settlement.

       2.      The preliminary order is hereby vacated and forfeiture as to the truck is dismissed

with prejudice.

       3.      Each party shall bear its own costs herein, including attorney fees.

 Signed: November 10, 2016




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